          Case 1:18-cv-07543-LGS Document 65 Filed 03/12/19 Page 1 of 15



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X

ANAS OSAMA IBRAHIM ABDIN,

                           Plaintiff,
                                                                   No. 1:18-cv-07543-LGS
                 v.

CBS BROADCASTING, INC and/or CBS CORP.                             Hon. Loma G. Schofield
and/or CBS ALL ACCESS, and/or CBS
INTERACTIVE Netflix, INC.,

                           Defendants.

                          ----------------------------------- X




          REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
     DEFENDANTS’ MOTION TO DISMISS THE THIRD AMENDED COMPLAINT



                                                               LOEB & LOEB LLP
                                                               Wook Hwang
                                                               Nathalie Russell
                                                               345 Park Avenue
                                                               New York, New York 10154
                                                               (212) 407-4000

                                                              Attorneys for Defendants CBS Broadcasting
                                                              Inc., CBS Corporation, CBS Interactive Inc.,
                                                              and Netflix, Inc.
               Case 1:18-cv-07543-LGS Document 65 Filed 03/12/19 Page 2 of 15


                                                     TABLE OF CONTENTS

                                                                                                                                           Page


TABI.i: OI AUTHORITIES..........................................................................................................ii

PRELIMINARY STATEMENT..................................................................................................... 1

ARGUMENT..................................................................................................................................2

I.        PLAINTIFF’ S COPYRIGHT CLAIMS FAIL IN THEIR ENTIRETY FOR
          LACK OF SUBSTANTIAL SIMILARITY.......................................................................2

          A.         Plaintiffs Opposition Fundamentally Misconstrues the Substantial
                     Similarity Test.........................................................................................................2

          B.         Defendants’ Discovery Series Is Not Remotely Similar to the Protectable
                     Elements of Plaintiff s Game Concept.................................................................... 5

                     1.        Discovery's Tardigrade Has No Features in Common with Any
                               Protectable Elements of Plaintiff s Tardigrade........................................... 5

                     2.         The Purported “Similarities” Among Certain of the Parties’
                                Characters Are Only to Stock and Unprotectable Elements....................... 7

                     3.        None of the Other Random “Similarities” Scattered Throughout
                               the Parties’ Works Are Actionable.............................................................. 9

II.       PLAINTIFF DOES NOT ALLEGE ANY INFRINGING PREDICATE ACT IN
          THE UNITED S I'ATES AGAINST NETFLIX................................................................10

III.      PLAINTIFF’S CLAIM FOR ATTORNEYS’ FEES IS UNEQUIVOCALLY
          BARRED BY SECTION 412 OF THE COPYRIGHT ACT........................................... 10

CONCLUSION............................................................................................................................. 11




                                                                        i
              Case 1:18-cv-07543-LGS Document 65 Filed 03/12/19 Page 3 of 15



                                                 TABLE OF AUTHORITIES

                                                                                                                                  Page(s)

Cases

Alexander v. Murdoch,
    2011 U.S. Dist. LEXIS 79543 (S.D.N.Y. May 27, 2011), adopted by,
    2011 U.S. Dist. LEXIS 79503 (S.D.N.Y. July 14, 2011)..............................................................8

Allen v. Scholastic Inc.,
    739 F. Supp. 2d 642 (S.D.N.Y. 2011)...........................................................................................9

Castle RockEntm’t, Inc. v. CarolPubl’g Grp., Inc.,
   150 F.3d 132 (2d Cir. 1998)..........................................................................................................3

Dean v. Cameron,
   53 F. Supp. 3d 641 (S.D.N.Y. 2014).............................................................................................6

Eden Toys, Inc. v. Marshall Field & Co.,
   675 I'.2d 498 (2d Cir. 1982)..........................................................................................................5

Hayuk v. Starbucks Corp.,
   157 F. Supp. 3d 285 (S.D.N.Y. 2016)...........................................................................................7

Jackson v. N.Y. State Office ofMental Health,
   2012 U.S. Dist. LEXIS 114531 (S.D.N.Y. Aug. 13, 2012), adopted by,
   2012 U.S. Dist. LEXIS 165876 (S.D.N.Y. Nov 15, 2012) ........................................................10

Kaye v. Cartoon Network, Inc.,
   297 F. Supp. 3d 362 (S.D.N.Y. 2017) (Schofield, J.)...........................................................4, 5, 9

Lewinson v. Henry Holt & Co., LLC,
   659 F. Supp. 2d 547 (S.D.N.Y. 2009).......................................................................................3, 9

Mayimba Music, Inc. v. Sony Corp. ofAm.,
  2014 U.S. Dist. LEXIS 152051 (S.D.N.Y. Aug. 19, 2014)..........................................................3

Perry v. Mary Ann Liebert, Inc.,
   2018 U.S. Dist. LEXIS 93513 (S.D.N.Y. June 4, 2018)...............................................................4

Peter F. Gaito Architecture, LLC v. Simone Dev. Corp.,
   602 I'.3d 57 (2d Cir. 2010)........................................................................................................3, 4

Psihoyos v. Nat 7 Geographic Soc ’y,
    409 F. Supp. 2d 268 (S.D.N.Y. 2005)...........................................................................................4

Ringgold v. Black Entm 7 TV, Inc.,
    126 I'.3d 70 (2d Cir. 1997)............................................................................................................9


                                                                     ii
               Case 1:18-cv-07543-LGS Document 65 Filed 03/12/19 Page 4 of 15



Silberstein v. John Does 1-10,
    242 F. App’x 720 (2d Cir. 2007)...................................................................................................7

Solid Oak Sketches, LLC v. 2K Games, Inc.,
    2016 U.S. Dist. LEXIS 101119 (S.D.N.Y. Aug. 2, 2016)..........................................................10

Warner Bros., Inc. v. ABC,
  720 F.2d 231 (2d Cir. 1983)..........................................................................................................7

Well-Made Toy Mfg. Corn. v. Goffa Int’l Corn.,
   354 I'.3d 112 (2d Cir. 2003)..........................................................................................................2

Williams v. Crichton,
   84 I'.3d 581 (2d Cir. 1996)...............................................................................................4-5, 9, 10

Zalewski v. Cicero Builder Dev. Inc.,
   754 I'.3d 95 (2d Cir. 2014)........................................................................................................3, 4



Statutes And Other Authorities

17U.S.C. § 412(2) ......................................................................................................................... 10

Fed. R. Civ. P. 12(b)(6)...................................................................................................................1,4




                                                                      iii
          Case 1:18-cv-07543-LGS Document 65 Filed 03/12/19 Page 5 of 15



       Defendants respectfully submit this reply memorandum of law in support of their motion,

pursuant to Fed. R. Civ. P. 12(b)(6), to dismiss Plaintiffs TAC for failure to state a claim upon

which relief may be granted.1

                                  PRELIMINARY STATEMENT

       By his opposition, Plaintiff agrees that the “heart” of this meritless action is his tardigrade

(Opp. Br. 10), an actual organism that Plaintiff concedes is well-known for its unique ability to

survive unprotected in space. (Opp. Br. 2; Mov. Br. 4-6). The TAC’s identification of all of

Plaintiffs allegedly infringed works has made clear that the only meaningful depiction of his

tardigrade is a single 13-second video clip Plaintiff posted to YouTube just two months before

Discovery aired. (Mov. Br. 9; Video Compilation at 29:20-33; Hwang Deck K 14, Ex. 13). Setting

aside the virtual impossibility that Defendants would or could have scripted, produced, shot, edited

and broadcast its allegedly infringing series in mere months after they immediately saw and

resolved to copy this 13-second amateur game teaser - a fantastical factual premise presumed to be

true for purposes of this motion - this action fails as a matter of law because the parties’ works are

not substantially (or remotely) similar.

       Plaintiffs opposition attempts to confuse the straightforward substantial similarity inquiry

with irrelevant and erroneous propositions of copyright law, including by characterizing this motion

as one hinging on whether this 13-second clip (or any other element of Plaintiff s game concept)

contains any copyrightable expression at all. (Opp. Br. 10-13). Plaintiff misses the point entirely.

The critical inquiry on the substantial similarity analysis is, of course, whether any of the

identifiable similarities are comprised of such protectable expression and, if so, whether these

similarities can be considered substantial when comparing the total concept and feel of the parties’


       1 Unless otherwise defined herein, capitalized terms are defined in Defendants’ moving brief
(DE 56). “Mov. Br.” and “Opp. Br.” refer, respectively, to Defendants’ moving brief and Plaintiffs
opposition brief (DE 62).
            Case 1:18-cv-07543-LGS Document 65 Filed 03/12/19 Page 6 of 15



“works as a whole,” unconfined to the few random and trivial side-by-side similarities that Plaintiff

has plucked out of Discovery's 11-hour first season.

       A comparison of the parties’ works leaves no doubt that Plaintiffs copyright claims fail as a

matter of law at both of these steps. Accordingly, this action should be dismissed in its entirety,

with prejudice.2

                                           ARGUMENT

I.     PLAINTIFF’S COPYRIGHT CLAIMS FAIL IN THEIR ENTIRETY FOR LACK OF
       SUBSTANTIAL SIMILARITY

       A.      Plaintiffs Opposition Fundamentally Misconstrues the Substantial Similarity
               Test

       Plaintiffs opposition relies on a number of erroneous legal pronouncements in an effort to

confuse the settled standards in the Second Circuit applicable to determining substantial similarity.

(See Mov. Br. 15-16).

       First Plaintiff seeks to do away with the substantial similarity test altogether by remarkably

contending (Opp. Br. 17) that the starship Discovery’s mycelial spore network DASH drive - which

has no analog in Plaintiffs game concept - is an infringing “derivative work” merely because it

relies upon tardigrade DNA to function. (Mov. Br. 12). Plaintiffs legal premise appears to be that

merely using the DNA of an allegedly infringing character (in this case, Ripper) necessarily creates

a newly infringing “derivative” work, irrespective of whether the purported derivative work is

substantially similar to Plaintiffs work. That premise is wrong. The test for determining whether

an infringing derivative work has been created is the same as with any other exclusive right

conferred by copyright - substantial similarity. See, e.g., Well-Made Toy Mfg. Corp. v. Goffa Int’l

Corp., 354 F.3d 112, 117 (2d Cir. 2003) (“no distinction” between determining whether derivative


        2 Plaintiff has withdrawn his meritless common law accounting claim (Opp. Br. 2), and all
that remains in this action are the three copyright claims asserted in the TAG, all for the same
alleged infringement but seeking different forms of relief.


                                                  2
          Case 1:18-cv-07543-LGS Document 65 Filed 03/12/19 Page 7 of 15



work right and reproduction right have been infringed, both requiring substantial similarity to

plaintiffs work); Castle Rock Entm’t, Inc. v. Carol Publ’g Grp., Inc., 150 F.3d 132, 143 n.9 (2d

Cir. 1998) (“if the secondary work sufficiently transforms the expression of the original work such

that the two works cease to be substantially similar, then the secondary work is not a derivative

work and, for that matter, does not infringe the copyright of the original work”); Mayimba Music,

Inc. v. Sony Corp. of Am., 2014 U.S. Dist. LEXIS 152051, at *53 (S.D.N.Y. Aug. 19, 2014) (“The

only way for Mayimba to prove that the remix was a derivative of Arias’ song would be for

Mayimba to prove that ... a substantial similarity exists between the remix and the protectable

elements of Arias’ song, i.e. to prove that the remix infringes its copyright.”). And there is no

similarity between Defendants’ DASH drive and anything in Plaintiffs work, including the

“tardigrade-hug” sequence shown in Plaintiffs 13-second clip. (Mov. Br. 9).

       Second. Plaintiff appears to erroneously suggest that the issue of substantial similarity

cannot be addressed at this stage of the action because “[probative similarity must first be

analyzed.” (Opp. Br. 5). That is wrong too. The “probative similarity” inquiry asks only whether

both the protectable and unprotectable elements of “the works are similar enough to support an

inference that the defendant copied the plaintiffs work.” Lewinson v. Henry Holt & Co., LLC, 659

F. Supp. 2d 547, 563 (S.D.N.Y. 2009). Where, as here, copying is not challenged for purposes of a

motion to dismiss, this inquiry is irrelevant to the “substantial similarity” determination, which asks

instead whether “the copying is illegal because a substantial similarity exists between the

defendant’s work and the protectible elements of plaintiffs.” Peter F. Gaito Architecture, LLC v.

Simone Dev. Corp., 602 F.3d 57, 63 (2d Cir. 2010) (emphasis added) (citation omitted); see also

Zalewski v. Cicero Builder Dev. Inc., 754 F.3d 95, 101 (2d Cir. 2014) (in contrast to the substantial

similarity inquiry, “similarity that relates to unprotected elements is probative only of copying —

not wrongful copying — and is referred to as ‘probative similarity’”). And Second Circuit courts



                                                   3
          Case 1:18-cv-07543-LGS Document 65 Filed 03/12/19 Page 8 of 15



are clear that copyright claims can and should be dismissed at the pleading stage where substantial

similarity is lacking, Peter F. Gaito, 602 F.3d at 63, as reflected by the multitude of decisions in this

District granting Rule 12(b)(6) motions on this basis. See, e.g., Kaye v. Cartoon Network, Inc., 297

F. Supp. 3d 362, 366 (S.D.N.Y. 2017) (Schofield, J.); Mov. Br. 16 (collecting cases).

       Third. Plaintiff contends (Opp. Br. 6-9) that the ordinary observer test, rather than the “more

discerning” ordinary observer test, should be applied in this case. That is also wrong. As this Court

has observed, the ‘“more discerning’ test applies when a plaintiffs work contains both protectable

and un-protectable elements.” Kaye, 297 F. Supp. 3d at 367; see also Peter F. Gaito, 602 F.3d at 66

(“when faced with works that have both protectible and unprotectible elements, our analysis must

be more discerning, and .... we instead must attempt to extract the unprotectible elements from our

consideration and ask whether the protectible elements, standing alone, are substantially similar”)

(citations and quotation marks omitted). Not only do unprotectable elements exist in Plaintiffs

work, but the very “heart” of his game concept (Opp. Br. 10) is a real-life organism whose physical

features and characteristic ability to survive unprotected in space lie in the public domain, and

cannot be “infringed” as a matter of law. See, e.g., Psihoyos v. Nat’l Geographic Soc’y, 409 F.

Supp. 2d 268, 275 (S.D.N.Y. 2005) (“the characteristics of an object as it occurs in nature ... are not

protectable”); Perry v. Mary Ann Liebert, Inc., 2018 U.S. Dist. LEXIS 93513, at *14 (S.D.N.Y.

June 4, 2018) (“copyright law does not protect facts, including scientific facts, because they do not

owe their origin to an act of authorship”) (citation and quotation marks omitted).

       In all events, irrespective of which test is applied, the law is clear that the substantial

similarity determination requires that there be “similarity that exists between the protected elements

of a work and another work” because even “a close similarity between it and a copy may prove only

copying, not wrongful copying.” Zalewski, 754 F.3d at 101 (emphasis added); Peter F. Gaito, 602

F.3d at 63. With these precepts in mind, and considering the “works as a whole,” Williams v.



                                                   4
            Case 1:18-cv-07543-LGS Document 65 Filed 03/12/19 Page 9 of 15



Crichton, 84 F.3d 581, 590 (2d Cir. 1996), “the task is to compare holistically the works’ ‘total

concept and overall feel ... as instructed by our good eyes and common sense.’” Kaye, 297 F.

Supp. 3d at 367 (quoting Peter F. Gaito, 602 F.3d at 66).

       B.      Defendants’ Discovery Series Is Not Remotely Similar to the Protectable
               Elements of Plaintiff’s Game Concept

               1.     Discovery's Tardigrade Has No Features in Common with Any
                       Protectable Elements of Plaintiffs Tardigrade

       Plaintiffs opposition simply ignores the axiomatic principle that allegedly infringing

similarities must be to protectable elements. With respect to the “heart” of Plaintiff s work - the

tardigrade - the opposition thus fails to meaningfully address the incontrovertible fact that the only

similarities in the graphical depiction of the parties’ tardigrades are unprotectable features common

to actual tardigrades.3 (Mov. Br. 5, 17). These physical features are not owned by Plaintiff, a

conclusion the opposition implicitly concedes (Opp. Br. 2, 17).        See, e.g., Eden Toys, Inc. v.

Marshall Field & Co., 675 F.2d 498, 500 (2d Cir. 1982) (no infringement where “any similarity

between [the parties’ snowmen] would appear to the ordinary observer to result solely from the fact

that both are snowmen”).

       Ignoring real tardigrades’ actual physical features, the only commonalities that exist here are

that the parties’ fictional tardigrades are enlarged and able to travel unprotected through space.

Plaintiff appears to contend that these are enough to establish substantial similarity. (Opp. Br. 14).

They are not. Both of these adaptations are obvious and basic ideas and - in light of tardigrades’

well-known ability to survive in space without protection - predictable scenes a faire in any

fictional space-based work depicting a tardigrade. See Mov. Br. 18-20 (collecting cases). Even if


       3 Plaintiff instead attempts to shift the focus by contending that his tardigrade is different
from other fictional tardigrades that predate his, noting, for instance, that “Captain Tardigrade looks
nothing like the plaintiffs character.” (Opp. Br. 4). That is the wrong comparison; his tardigrade
indisputably depicts the unique physical features common to actual tardigrades, and it is those that
are unprotectable.


                                                   5
          Case 1:18-cv-07543-LGS Document 65 Filed 03/12/19 Page 10 of 15



these adaptations were original to Plaintiff, they would thus be unprotectable. See, e.g., Dean v.

Cameron, 53 F. Supp. 3d 641, 648-49 (S.D.N.Y. 2014) (“Suspending a landmass is a predictable —

if not common — way to make a vista more sweeping, breathtaking, and fantastical, and is plainly

subject to both the principle that ideas are not protected and the doctrine of scenes a faire”).

       These elements are not original to him, however. The 2010 book The Search for WondLa

features an enlarged tardigrade described as “gargantuan” and “behemoth,” and with a brethren herd

of “giant tardigrades” described as “[Ijarge glowing life-forms” that are “carried by strange and

wondrous currents.” {See Hwang Deck ^ 6, Ex. 5). Captain Tardigrade also predates Plaintiffs 13-

second video (by over two years), and is also enlarged and space-faring. {Id.        10, Ex. 9). These

materials need not be considered to conclude that enlarging a microscopic creature and extending its

well-known space survival ability to space travel are generic ideas and obvious scenes a faire. But

there is no question that the Court can take judicial notice to confirm that enlarged space-faring

tardigrades are not original to Plaintiff - yet another reason that this action is fatally flawed. (Mov.

Br. 3 n.2 (citing cases regarding judicial notice of prior works)).

       In a bid to manufacture similarities where none exist, Plaintiffs opposition continues to

mischaracterize the parties’ works.        Among other things, Plaintiff continues to claim that

Defendants’ Ripper is blue. (Opp. Br. 14). Though Ripper is seen in blue lighting or bathed in blue

mycelial spores (Plaintiff does not own blue lighting), that Ripper himself is not blue is easily

confirmed by watching the relevant portions of the two episodes in which he appears. Plaintiffs

explanation (Opp. Br. 14) that Ripper is not blue for “only” 37 seconds of Defendants’ 11-hour

series is misleading and meaningless, because Ripper’s appearance in the two episodes consists of

brief snippets lasting a total of a few dozen seconds. Plaintiffs additional argument that, unlike

Plaintiffs tardigrade, actual “[tjardi grades do not, envelop human beings in nature” (Opp. Br. 17) is

also misleading and irrelevant, because Defendants’ Ripper also does not “envelop” humans. And



                                                    6
          Case 1:18-cv-07543-LGS Document 65 Filed 03/12/19 Page 11 of 15



Plaintiffs explanation {id.) that real-life tardigrades “do not assist or interact with the crew on a

spaceship” is just as irrelevant, because, unlike Ripper, neither does Plaintiffs tardigrade.4

       In short, there are no similarities at all in the protectable expression between the parties’

tardigrades. That alone ends the inquiry as to whether the “heart” of his work has been infringed. It

has not, a conclusion made even clearer when considering the “total concept and feel” of the

tardigrades’ vastly distinct characteristics and story arcs in the context of the parties’ works as a

whole.5 See, e.g., Hayukv. Starbucks Corp., 157 F. Supp. 3d 285, 292 (S.D.N.Y. 2016) (“[Second

Circuit courts] have found certain similarities to exist as to portions of an allegedly infringing work,

but nonetheless held that substantial similarity did not exist because of overwhelming dissimilarities

in the works when compared in ‘total concept and overall feel’”) (citation omitted); Warner Bros.,

Inc. v. ABC, 720 F.2d 231, 241 (2d Cir. 1983) (with respect to “graphic and three-dimensional

works” in particular, “dissimilarities between two works of this sort inevitably lessen the similarity

that would otherwise exist between the total perceptions of the two works”); Silberstein v. John

Does 1-10, 242 F. App’x 720, 722 (2d Cir. 2007).

               2.      The Purported “Similarities” Among Certain of the Parties’ Characters
                       Are Only to Stock and Unprotectable Elements

       Plaintiffs sole argument (Opp. Br. 12) concerning the purported character infringements is

that Defendants are “dissecting” his characters into their “‘basest components,” including “blond

white male,” “African-American female” and a “redhead.” But these are Plaintiff’s terms used in


        4 Plaintiff has dropped his false contention that his tardigrade can travel “instantaneously”
through space, as alleged in the complaint. (TAC 1} 24). Instead, there is “instantaneous space
travel” generally in both works, because Plaintiffs work features a wormhole. (Opp. Br. 19). This
of course is irrelevant - Plaintiff did not come up with wormholes (Einstein did), and they have
long been featured in various science fiction works, including prior Star Trek series.
        5 In Plaintiffs works, his tardigrade’s only meaningful appearance is the single 13-second
clip showing his “tardigrade-hug” sequence. (Mov. Br. 9). No information is provided other than
what appears in the video itself, except a single blog post explaining that the tardigrade can travel in
space. {Id. at 10). By contrast, Ripper, who does not “hug” or envelop any humans, appears in
Discovery as part of the intricate storyline described in the moving brief. (Mov. Br. 10-13).


                                                   7
             Case 1:18-cv-07543-LGS Document 65 Filed 03/12/19 Page 12 of 15



the complaint to describe his own characters, based on the nondescript few-sentence vignettes in his

2018 Treatment. (TAC          30(a-e); 2018 Treatment at 3-6). More importantly, a comparison of the

parties’ works themselves shows that any character similarities exist only with respect to these

“basest [of] components” and that any “similarities” can only be described, at the highest level of

specificity, as “blond white male,” “African-American female,” a redhead, and a “darker

complexion” male. These stock character elements are not protectable. See, e.g., Alexander v.

Murdoch, 2011 U.S. Disk LEXIS 79543, at *31 (S.D.N.Y. May 27, 2011) (rejecting contention that

characters were “substantially similar because each is ‘a stunningly beautiful, fiery, temperamental,

Latina mother, with a thick accent, who’s in love with her Caucasian [ex-husband/husband] and

always makes him do the right thing, especially where her son is concerned’”), adopted by, 2011

U.S. Disk LEXIS 79503 (S.D.N.Y. July 14, 2011); Mov. Br. 21 (collecting cases).

           In yet another attempt to manufacture a claim of character similarity {see Mov. Br. 21 n.13

(noting Plaintiffs mixing and matching of character attributes)), the opposition contends that his

“blond white [straight] male” and Defendants’ “blond white [homosexual] male” are both

“botanists” because, in Plaintiffs game, Carter is a botanist and, in Defendants’ work, Lieutenant

Stamets studies “plant mushrooms.” (Opp. Br. 13). Assuming Plaintiff has a monopoly on “white

blond male botanist” (he does not), Stamets is not a botanist because there is no such thing as a

“plant mushroom.”        {See https://en.wikipedia.org/wiki/Mushroom (explain that mushrooms are

fungi)).       Rather,   Stamets is    a astromycologist that      studies   space-based   fungi   {see

https://en.wikipedia.org/wiki/Mvcology (explaining that mycology is the study of fungi) - a

necessary occupation on a show with a propulsion drive running on mycelial spores. That feature of

Discovery of course bears no similarity at all to any element of Plaintiff s work, nor to whatever

form of botany (left undescribed in Plaintiffs works) that his Carter character may practice.




                                                    8
          Case 1:18-cv-07543-LGS Document 65 Filed 03/12/19 Page 13 of 15



               3.      None of the Other Random “Similarities” Scattered Throughout the
                       Parties’ Works Are Actionable

       Plaintiffs reliance (Opp. Br. 14-16) on the random assortment of the few other “similarities”

he claims exist (the “egg-shaped” helmet, an “emitter,” “ethereal” travel, blue and white dots) - all

interspersed at random unrelated points in the parties’ works - is equally unavailing.

       The opposition fails to address the controlling legal principle that random similarities

scattered throughout the parties’ works cannot establish substantial similarity as a matter of law. As

the Second Circuit has explained, “[s]uch a scattershot approach cannot support a finding of

substantial similarity because it fails to address the underlying issue: whether a lay observer would

consider the works as a whole substantially similar to one another.” Williams, 84 F.3d at 590

(citations and quotation marks omitted; underline added). Courts in this District thus routinely

reject copyright claims based on randomly scattered similarities like those identified by Plaintiff.

See, e.g., Allen v. Scholastic Inc., 739 F. Supp. 2d 642, 663 (S.D.N.Y. 2011) (“[Rjandom

similarities scattered throughout the works ... cannot [by themselves] support a finding of

substantial similarity.”); Lewinson, 659 F. Supp. 2d at 573 (same); see also Kaye, 297 F. Supp. 3d at

371 (“None of the isolated similarities ... provides a sufficient basis for a reasonable jury to find

substantial similarity between the works’ ‘total concept and overall feel.’”) (citation omitted).

       Plaintiff relies (Opp. Br. 16-17) upon Ringgold v. Black Entm’t TV, Inc., 126 F.3d 70 (2d

Cir. 1997), for the proposition that the common use of these trivial elements even for “mere

seconds” can constitute actionable infringement. That is wrong. In Ringgold, the Court rejected the

defendant’s position that its wholesale copying of plaintiffs exact poster as set decoration was de

minimis, expressly distinguishing that circumstance from the one presented here.              Id. at 75

(“[plaintiffs] poster itself, not some poster that was similar in some respects to it, was displayed on

the set of defendants’ television program”) (emphasis added). Here, the commonalities between the

parties’ works as to the random elements Plaintiff identifies exist only at the highest level of


                                                   9
         Case 1:18-cv-07543-LGS Document 65 Filed 03/12/19 Page 14 of 15



unprotectable abstraction, and are indeed de minimis and trivial. (Mov. Br. 22-23). This random

assortment of scattered elements “cannot support a finding of substantial similarity.” Williams, 84

F.3d at 590 (citation and quotation marks omitted).

II.    PLAINTIFF DOES NOT ALLEGE ANY INFRINGING PREDICATE ACT IN THE
       UNITED STATES AGAINST NETFLIX

       Plaintiff attempts to remedy the failure in the TAC to allege any infringing predicate act by

Netflix in the United States (Mov. Br. 23-24) by now “alleging” in a legal brief that, “[u]pon

information and belief CBS transferred a master copy(ies) of Star Trek Discovery to Netflix within

the United States...” (Opp. Br. 2). It is axiomatic that “[a] plaintiff cannot amend his pleadings

via his opposition to a motion to dismiss.” Jackson v. N.Y. State Office ofMental Health, 2012 U.S.

Disk LEXIS 114531, at *34 (S.D.N.Y. Aug. 13, 2012), adopted by, 2012 U.S. Disk LEXIS 165876

(S.D.N.Y. Nov 15, 2012). But even if Plaintiff were permitted to do so - and he is not {see DE 45

at 5; 1/8/19 Tr. (DE 52) at 15:14-22) - the mere receipt of an allegedly infringing work does not

violate any exclusive right, is not infringement, and thus cannot constitute the necessary predicate

infringement in the United States to support Netflix’s inclusion in this action. (Mov. Br. 23-24).

III.   PLAINTIFF’S CLAIM FOR ATTORNEYS’ FEES IS UNEQUIVOCALLY BARRED
       BY SECTION 412 OF THE COPYRIGHT ACT

       Plaintiffs opposition cites to Section 505 of the Copyright Act (Opp. Br. 20-21) for the

undisputed proposition that attorneys’ fees may generally be awarded in copyright actions. Plaintiff

ignores the equally indisputable and more relevant proposition that, pursuant to Section 412(2),

Plaintiff cannot recover attorneys’ fees because his June 28, 2018 copyright registration postdates

the commencement of the alleged infringements. (Mov. Br. 24-25). “Even ‘[w]here the alleged

infringement begins before registration and continues after registration, statutory damages and

attorney fees are still unavailable.’” Solid Oak Sketches, LLC v. 2K Games, Inc., 2016 U.S. Dist.

LEXIS 101119, at *5 (S.D.N.Y. Aug. 2, 2016) (citation omitted; emphasis added).



                                                  10
          Case 1:18-cv-07543-LGS Document 65 Filed 03/12/19 Page 15 of 15



                                         CONCLUSION

        For all of the foregoing reasons, Defendants respectfully request that the TAC be dismissed

in its entirety, with prejudice.

Dated: New York, New York
       March 12, 2019

                                            LOEB & LOEB LLP

                                            By: /s/ Wook Hwans_____________________
                                               Wook Hwang
                                               Nathalie Russell
                                               345 Park Avenue
                                               New York, New York 10154-1895
                                               (212) 407-4000

                                            Attorneys for Defendants CBS Broadcasting Inc., CBS
                                            Corporation, CBS Interactive Inc., and Netflix, Inc.




                                                11
